           Case 1:10-cr-00343-LJO Document 120 Filed 12/08/11 Page 1 of 2




1    BENJAMIN B. WAGNER
     United States Attorney
2    KIRK E. SHERRIFF
     STANLEY A. BOONE
3    Assistant U.S. Attorneys
     2500 Tulare Street, Suite 4401
4    Fresno, California 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099
6    Attorneys for the
     United States of America
7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       1:10-CR-00343 LJO
                                       )
12                   Plaintiff,        )       ORDER FOR FORFEITURE
                                       )       MONEY JUDGMENT
13        v.                           )
                                       )
14   ROBERT MORRIS ADAMS,              )
                                       )
15                   Defendant.        )
                                       )
16
17             Based upon the United States’ Application for Forfeiture
18   Money Judgment and the plea agreement entered into between plaintiff
19   United States of America and defendant Robert Morris Adams,
20        IT IS HEREBY ORDERED that:
21        1.   Defendant Robert Morris Adams shall forfeit to the United
22   States the sum of $225,000, and the Court imposes a personal
23   forfeiture money judgment against defendant in that amount.
24        2.   Any funds applied towards such judgment shall be forfeited
25   to the United States of America and disposed of as provided by law.
26   Prior to the imposition of sentence, any funds delivered to the
27   United States to satisfy the personal money judgment shall be seized
28   and held by the U.S. Department of the Treasury, Internal Revenue

                                           1           Order for Forfeiture Money Judgment
               Case 1:10-cr-00343-LJO Document 120 Filed 12/08/11 Page 2 of 2




1    Service, in its secure custody and control.
2             3.      This Order of Forfeiture shall become final as to the
3    defendant at the time of sentencing and shall be made part of the
4    sentence and included in the judgment.
5             4.      The United States may, at any time, move pursuant to Rule
6    32.2(e) to amend this Order of Forfeiture to substitute property
7    having a value not to exceed $225,000 to satisfy the money judgment
8    in whole or in part.
9    IT IS SO ORDERED.
10   Dated:        December 8, 2011           /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             2             Order for Forfeiture Money Judgment
